         Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 1 of 18



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15
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16

17
                                                         Case No. 3:17-cv-06457-JD (lead case)
18    COREPHOTONICS, LTD.                                Case No. 5:18-cv-02555-JD

19                              Plaintiff,               APPLE’S MOTION TO STRIKE
                                                         COREPHOTONICS’S EXPERT’S UNDISCLOSED
20            vs.                                        NEW INFRINGEMENT THEORIES

21    APPLE INC.                                         Date: February 29, 2024
                                                         Time: 10:00 a.m.
22                              Defendant.
                                                         Courtroom 11, 19th Floor
23                                                       450 Golden Gate Avenue,
                                                         San Francisco, CA 94102
24

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     Case No. 3:17-cv-06457-JD (lead case)
     Case No. 5:18-cv-02555-JD                                                      MOTION TO STRIKE
           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 2 of 18



 1                                                      TABLE OF CONTENTS
 2                                                                                                                                      Page
 3    NOTICE OF MOTION AND MOTION ........................................................................................ 1
 4    STATEMENT OF RELIEF REQUESTED .................................................................................... 1
      MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 1
 5
      I.   INTRODUCTION .............................................................................................................. 1
 6    II.  FACTUAL BACKGROUND ............................................................................................. 2
 7         A.    Corephotonics Twice Amended Its Infringement Contentions But Never
                 Raised the Untimely New Theories at Issue in this Motion.................................... 2
 8               1.     For each claimed “ISP,” Corephotonics accused only an SoC
                        Processor. .................................................................................................... 3
 9
                 2.     For the “camera controller” claim element, Corephotonics did not
10                      raise a means-plus-function infringement theory........................................ 4
                 3.     For the “fusion” limitations, Corephotonics did not accuse Local
11                      Tone Mapping. ............................................................................................ 4
12         B.    Corephotonics’s Infringement Expert Report Raises New Theories Not
                 Disclosed In Corephotonics’s Infringement Contentions. ...................................... 6
13               1.     The Hart Report raises a new “software and hardware”
                        infringement theory for the “ISP” limitations. ............................................ 6
14
                 2.     The Hart Report raises a new means-plus-function infringement
15                      theory for the “camera controller” limitation. ............................................. 6
                 3.     The Hart Report raises a new “local tone mapping” infringement
16                      theory for the “fusion” limitations. ............................................................. 7
17    III. LEGAL STANDARDS....................................................................................................... 8
      IV.  ARGUMENT ...................................................................................................................... 9
18
           A.    The Court Should Strike the Hart Report’s New Untimely Infringement
19               Theories. .................................................................................................................. 9
                 1.     The Court should strike the Hart Report’s untimely new “ISP”
20                      infringement theory. .................................................................................. 10
21                         2.
                           The Court should strike the Hart Report’s untimely new means-
                           plus-function infringement theory for the “camera controller.” ............... 11
22                  3.     The Court should strike the Hart Report’s untimely new
                           infringement theory accusing Local Tone Mapping. ................................ 12
23
                B.  Apple Is Unfairly Prejudiced By Corephotonics’s Undisclosed New
24                  Theories. ................................................................................................................ 13
      V.        CONCLUSION ................................................................................................................. 14
25

26

27

28
     Case No. 3:17-cv-06457-JD (lead case)
     Case No. 5:18-cv-02555-JD                                             i                                             MOTION TO STRIKE
                            Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 3 of 18



                    1                                                       TABLE OF AUTHORITIES

                    2                                                                                                                                             Page(s)

                    3    Cases

                    4    Adobe Sys. Inc. v. Wowza Media Sys.,
                            No. 11-CV-02243-JST, 2014 WL 709865 (N.D. Cal. Feb. 23, 2014) .................................... 13
                    5
                         DSS Tech. Mgmt., Inc. v. Apple, Inc.,
                    6
                            No. 14-CV-05330-HSG, 2020 WL 210318 (N.D. Cal. Jan. 14, 2020) ................... 9, 10, 11, 12
                    7
                         Finjan LLC v. Palo Alto Networks, Inc.,
                    8       No. 3:14-cv-04908-JD, 2023 WL 6305786 (N.D. Cal. Sept. 27, 2023) .......................... passim

                    9    Finjan, Inc. v. Cisco Sys. Inc.,
                            No. 17-cv-00072-BLF (SVK), 2020 WL 2322923 (N.D. Cal. May 11, 2020) .................... 2, 9
                   10
                         Finjan, Inc. v. Symantec Corp.,
                   11       No. 14-CV-02998-HSG(JSC), 2018 WL 620169 (N.D. Cal. Jan. 30, 2018)...................... 9, 13
                   12
                         Firstface Co., Ltd. v. Apple, Inc.,
                   13        No. 3:18-cv-02245-JD, Dkt. 160 (N.D. Cal. Aug. 29, 2022)...................................... 11, 12, 14

                   14    KlausTech, Inc. v. Google LLC,
                            No. 10-cv-05899-JSW (DMR), 2018 WL 5109383 (N.D. Cal. Sept. 14, 2018),
                   15       aff’d, 792 F.App’x 954 (Fed. Cir. 2020) ................................................................................... 9
                   16    O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc.,
                            467 F.3d 1355 (Fed. Cir. 2006) ................................................................................................. 8
                   17

                   18    Word to Info Inc. v. Facebook Inc.,
                           No. 15-CV-03485-WHO, 2016 WL 6276956 (N.D. Cal. Oct. 27, 2016), aff’d,
                   19      700 F. App’x 1007 (Fed. Cir. 2017) ....................................................................................... 11

                   20    Statutes
                   21    35 U.S.C.
                            § 112 ........................................................................................................................................ 14
                   22
                            § 112(6) ..................................................................................................................................... 8
                   23       § 112(f) ...................................................................................................................................... 4

                   24    Other Authorities

                   25    Local Rule
                            3-1 ......................................................................................................................................... 1, 8
                   26       3-1(b) ................................................................................................................................... 8, 13
                            3-1(c) ......................................................................................................................................... 8
                   27
                            3-6 ............................................................................................................................................. 8
                   28
COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                                                  ii                                                MOTION TO STRIKE
                              Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 4 of 18



                    1                                     NOTICE OF MOTION AND MOTION
                    2             TO ALL PARTIES AND THEIR COUNSEL OF RECORD: PLEASE TAKE NOTICE

                    3    that on February 29, 2024 at 10:00 A.M., or as soon thereafter as the motion may be heard, in the

                    4    courtroom of the Honorable James Donato, located at Courtroom 11, 19th Floor, San Francisco

                    5    Courthouse at 450 Golden Gate Ave., San Francisco, CA 94102, Apple Inc. (“Apple”) will and

                    6    hereby does move the Court for an order striking previously undisclosed theories of infringement

                    7    in Corephotonics’s expert reports. The motion is based upon this Notice, the Memorandum of

                    8    Points and Authorities, the pleadings, all matters of which the Court may take judicial notice, and

                    9    any other argument or evidence that may be presented in support of this Motion. The parties met

                   10    and conferred telephonically, and Corephotonics opposes this motion.

                   11                                   STATEMENT OF RELIEF REQUESTED
                   12             Apple requests that the Court enter an order striking the portions of the expert report of Dr.

                   13    John Hart that articulate or rely upon undisclosed new theories of infringement regarding U.S.

                   14    Patent No. 9,185,291 (“the ’291 Patent”) that Corephotonics failed to disclose in its Infringement

                   15    Contentions pursuant to Patent Local Rule 3-1.

                   16                            MEMORANDUM OF POINTS AND AUTHORITIES
                   17    I.       INTRODUCTION
                   18             The Court should strike the untimely new infringement theories that Corephotonics attempts
                   19    to raise for the first time in an expert report after fact discovery closed. Prior to the service of that
                   20    report, Corephotonics had over six years to develop its infringement theories and at least three
                   21    opportunities to disclose its infringement contentions. Indeed, during the lengthy fact discovery
                   22    period—originally open for most of 2018 and continuing from April 2022 through November
                   23    2023—Corephotonics twice amended its infringement contentions, including as recently as four
                   24    months before it served its opening expert reports.             Apple relied on the disclosures in
                   25    Corephotonics’s infringement contentions in developing its positions, discovery, and defenses.
                   26    After fact discovery closed, Corephotonics served its infringement expert report on the ’291 patent
                   27    that contains several untimely new infringement theories that were not disclosed in any of
                   28    Corephotonics’s three rounds of contentions. Specifically, the report raises new infringement
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                           1                                  MOTION TO STRIKE
                            Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 5 of 18



                    1    theories on the (1) “image signal processor (ISP),” (2) “camera controller,” and (3) “fusion” claim
                    2    requirements. “It is well settled that expert reports may not introduce theories not set forth in
                    3    contentions.” Finjan, Inc. v. Cisco Sys. Inc., No. 17-cv-00072-BLF (SVK), 2020 WL 2322923, at
                    4    *3 (N.D. Cal. May 11, 2020) (“Finjan/Cisco”) (striking untimely new infringement theory from
                    5    expert report); Finjan LLC v. Palo Alto Networks, Inc., No. 3:14-cv-04908-JD, 2023 WL 6305786,
                    6    at *1 (N.D. Cal. Sept. 27, 2023) (“Finjan/PAN”) (same). Apple respectfully requests that the Court
                    7    strike the improper new theories.
                    8    II.      FACTUAL BACKGROUND
                    9             A.       Corephotonics Twice Amended Its Infringement Contentions But Never
                                           Raised the Untimely New Theories at Issue in this Motion.
                   10

                   11             In 2018, Corephotonics served its initial contentions on the ’291 patent that accused the
                   12    iPhone 7 Plus. (Declaration of Lowell Mead (“Mead Decl.”), Ex. A.) In response, Apple produced
                   13    source code and other technical documentation relating to the iPhone 7 Plus. (Mead Decl., ¶ 3.) In
                   14    December 2018, the case was stayed pending inter partes review. (Dkt. 100.) The Court lifted the
                   15    stay on April 14, 2022. (Dkt. 127.) On May 6, 2022, Corephotonics moved to amend its
                   16    contentions to accuse many iPhone and iPad products that Apple had released during the stay. (Dkt.
                   17    129.) The Court granted that motion on July 25, 2022. (Dkt. 146.) After the Court granted
                   18    Corephotonics’s motion to amend its contentions, Apple produced source code and technical
                   19    documentation for the newly-accused products. (Mead Decl., ¶ 3.)
                   20             On August 9, 2023, Corephotonics filed a second motion to amend its contentions to accuse
                   21    additional products that were released during the discovery period. (Dkt. 179.) The Court granted
                   22    that motion on August 30, 2023. (Dkt. 183.) These second amended infringement contentions are
                   23    Corephotonics’s currently operative contentions.     Notably, Corephotonics’s second amended
                   24    contentions rely solely upon publicly available information without citing any of the source code
                   25    and other technical discovery Apple produced.
                   26             As explained below, Corephotonics’s infringement contentions never disclosed the new
                   27    theories at issue in this motion.
                   28
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                         2                               MOTION TO STRIKE
                             Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 6 of 18



                    1                      1.      For each claimed “ISP,” Corephotonics accused only an SoC Processor.
                    2             Claim 1 of the asserted ’291 patent requires a “Wide imaging section” that includes “a Wide

                    3    image signal processor (ISP)” and a “Tele imaging section” that includes a “Tele ISP.” (See Ex. A

                    4    at 2-3.) After Apple released the iPhone 7 Plus in 2016, Apple publicly disclosed that the product

                    5    contained an “A10 Fusion” system-on-a-chip (“SoC”) processor, including in the September 2016

                    6    press release introducing the iPhone 7 Plus.1 Corephotonics’s initial contentions accused that A10

                    7    processor as the claimed “ISP.” For the “ISP” limitations, Corephotonics’s initial contentions

                    8    against the iPhone 7 Plus pointed only to “a processor,” and specifically the Apple A10 Fusion:

                    9

                   10

                   11

                   12

                   13
                         (Id. at 3-4.) The later-released accused iPhone and iPad products similarly each contain an SoC
                   14
                         chip with an A-series or M-series number, as Apple described in press releases (for example, the
                   15
                         A13 Bionic in iPhone 11 products2, A14 Bionic in iPhone 12 products3, A15 Bionic in iPhone 13
                   16
                         products4, and M1 chip in iPad Pro products5). For the “ISP” limitations, Corephotonics’s first and
                   17
                         second amended contentions against all of these products identified only “a processor” as the
                   18
                         accused component, and identified only the A series or M series SoC processor in each product:
                   19

                   20

                   21

                   22    (Ex. B (first amended contentions chart) at 3-4; Ex. C (second amended contentions chart) at 3-4.)

                   23
                         1
                   24         See      https://www.apple.com/newsroom/2016/09/apple-introduces-iphone-7-iphone-7-plus/
                         (describing the “new custom-designed Apple A10 Fusion chip”).
                         2
                   25      See https://www.apple.com/newsroom/2019/09/apple-introduces-dual-camera-iphone-11/.
                         3
                           See https://www.apple.com/newsroom/2020/10/apple-introduces-iphone-12-pro-and-iphone-12-
                   26    pro-max-with-5g/ and https://www.apple.com/newsroom/2021/04/apple-introduces-iphone-12-
                         and-iphone-12-mini-in-a-stunning-new-purple/.
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                   27        See https://www.apple.com/newsroom/2021/09/apple-introduces-iphone-13-and-iphone-13-
                         mini/.
                         5
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COOLEY LLP
                         stunning-liquid-retina-xdr-display/.
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                          3                               MOTION TO STRIKE
                            Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 7 of 18



                    1    Corephotonics never accused anything other than this processor.
                    2                      2.      For the “camera controller” claim element, Corephotonics did not raise
                                                   a means-plus-function infringement theory.
                    3
                                  In December 2022, a means-plus-function claim construction arose that became part of the
                    4
                         Markman proceedings in this case. Specifically, Apple had filed a request with the U.S. Patent &
                    5
                         Trademark Office (“PTO”) for ex parte reexamination of the ’291 patent. On December 27, 2022,
                    6
                         the PTO issued an office action where it determined a claim construction that the “camera
                    7
                         controller” element in claim 1 of the ’291 patent is subject to a means-plus-function claim
                    8
                         construction under 35 U.S.C. § 112(f), limiting the claim to certain algorithmic steps described in
                    9
                         Figures 5 and 6 of the patent. (See Dkt. 155-1.) The PTO determined that under that means-plus-
                   10
                         function construction, claim 1 and its challenged dependent claims would not be invalid over the
                   11
                         cited prior art. (Id.) The PTO directed Corephotonics to file a response by February 22, 2023
                   12
                         addressing the means-plus-function construction. (Id.) In January 2023, Apple filed with this Court
                   13
                         a notice of the PTO’s action. (Dkt. 155.) On April 24, 2023, Corephotonics filed its response
                   14
                         indicating that it did not dispute the PTO’s means-plus-function construction. (Dkt. 171-2.) On
                   15
                         April 27, 2023, Apple moved for leave to supplement the claim construction briefing in support of
                   16
                         the means-plus-function construction. (Dkt. 171.) Apple explained that “the new means-plus-
                   17
                         function construction that Corephotonics recently embraced is potentially dispositive on non-
                   18
                         infringement as to this patent.” (Id. at 4.) The Court granted Apple’s motion and directed the
                   19
                         parties to file further briefing (Dkt. 173), which the parties filed on July 10 and August 7, 2023
                   20
                         (Dkt. 177, 178). The Court held a claim construction hearing on October 5, 2023, and the Court’s
                   21
                         claim construction order has not yet issued.
                   22
                                  Even though Corephotonics had been on notice of this means-plus-function construction for
                   23
                         nearly eight months when Corephotonics amended its contentions in August 2023, it did not raise
                   24
                         any theory of infringement under that construction. (See Ex. C at 5.)
                   25
                                           3.      For the “fusion” limitations, Corephotonics did not accuse Local Tone
                   26                              Mapping.
                   27             The ’291 claims require a function to “combine” at least some “Wide and Tele image data
                   28    to provide a fused output image” (the “fusion” limitations). (See Ex. A at 3-4.) In its initial
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   PALO ALTO
                        Case No. 5:18-cv-02555-JD                          4                              MOTION TO STRIKE
                            Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 8 of 18



                    1    contentions, Corephotonics accused functionality in the iPhone 7 Plus that “intelligently fuses
                    2    images from the wide-angle and telephoto cameras” of satisfying the “fusion” limitations. (See Ex.
                    3    A at 6 (quoting Apple’s publicly available description that “the Dual camera intelligently fuses
                    4    images from the wide-angle and telephoto cameras to improve image quality”).)
                    5             Corephotonics’s first amended contentions, accusing many products beyond the iPhone 7
                    6    Plus, raised a different theory for the “fusion” limitations that instead focused on a white-balance
                    7    function. Corephotonics purported to have tested iPhone products by covering one camera from
                    8    among multiple cameras, resulting in a darker image. (Ex. B at 6-8; Dkt. 135 at 10-13.) In its
                    9    amended contentions, Corephotonics provided sample images from its alleged testing, including
                   10    (1) a brighter image resulting from uncovered cameras (below on the left side), and (2) a darker
                   11    image resulting from covering one camera (below on the right):
                   12

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                   20    (Dkt. 135 at 11-12.) In response to the motion to amend, Apple explained that Corephotonics was
                   21    pointing to functionality that does not combine pixel data from two images (as would be required
                   22    under the proper meaning of “fusion” within the claims) but instead merely collects statistics used
                   23    to adjust white balance before an image is captured. (Dkt. 134 at 13-16; Dkts. 133-134, Declaration
                   24    of Ting Chen, ¶¶ 4-8.)           Corephotonics’s (currently operative) second amended contentions
                   25    maintained this same white balance-based theory for the “fusion” limitation with no change. (Ex.
                   26    C at 6-8.)
                   27             Accordingly, in the Markman briefing and oral argument, Apple relied on Corephotonics’s
                   28    white balance-based infringement theory to crystallize the parties’ disputes regarding, and to
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                           5                              MOTION TO STRIKE
                            Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 9 of 18



                    1    develop Apple’s proposed constructions for, the “fusion” and “image data” claim terms. Apple
                    2    noted that Corephotonics’s positions would improperly broaden the meanings of those terms to
                    3    encompass any use of “information” about two images. (E.g., Dkt. 150 at 6-14; Dkt. 189 (10/5/23
                    4    Hrg. Tr.) at 29:8-17 (noting that under a proper construction, “[i]mage data is the actual pixel
                    5    values” but Corephotonics was “trying to stretch the term ‘image data’ to read on white balance
                    6    gain or other secondary information around an image”).)
                    7             B.       Corephotonics’s Infringement Expert Report Raises New Theories Not
                                           Disclosed In Corephotonics’s Infringement Contentions.
                    8

                    9             Fact discovery closed in November 2023, and Corephotonics served its opening expert
                   10    reports in December 2023. Corephotonics’s opening expert report on alleged infringement of the
                   11    ’291 patent by Dr. John Hart (“Hart Report”) raised new infringement theories for three sets of
                   12    limitations that were not disclosed in Corephotonics’s infringement contentions. (Ex. D (Hart
                   13    Report excerpts).)
                   14                      1.      The Hart Report raises a new “software and hardware” infringement
                                                   theory for the “ISP” limitations.
                   15

                   16             For the “ISP” limitations, for which Corephotonics’s infringement contentions had accused
                   17    only “a processor,” the Hart Report raised a new theory broadly accusing all “software and
                   18    hardware” that might be found in the Accused Products that are responsible for “connecting to,
                   19    enabling, configuring, and utilizing the camera module to, for example, perform image and video
                   20    output/capture operations,”, which “specifically includes the bus connections from” an image
                   21    sensor “to the Apple SoC” and “includes specifically the iOS operating system and its use of
                   22    camera drivers and ISP firmware pipeline.” (Id., ¶¶ 84, 89, 91 (emphasis added).)
                   23                      2.      The Hart Report raises a new means-plus-function infringement theory
                                                   for the “camera controller” limitation.
                   24

                   25             The Hart Report for the first time raised a theory of infringement under Apple’s proposed
                   26    means-plus-function claim construction of the “camera controller” limitation, including new
                   27    theories for each of the algorithmic steps required in the ’291 patent specification. (Ex. D (Hart
                   28    Report), ¶¶ 129-146; ¶¶ 130 (“Even if ‘camera controller’ is construed in the manner suggested by
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                         6                               MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 10 of 18



                    1    Dr. Durand and mapped to steps illustrated in Figures 5 and 6, the Accused Products would still
                    2    meet this limitation, as explained below.”), 131-146 (opining on steps 504, 506, 508, 510, and 512
                    3    of Figure 5 and steps 602, 604, 606, 610, 612, and 614 of Figure 6).) The Hart Report sets forth
                    4    extensive new content, not found anywhere in Corephotonics’s infringement contentions, asserting
                    5    that these steps are practiced by the accused products literally or by equivalence. (Id.)
                    6                      3.      The Hart Report raises a new “local tone mapping” infringement theory
                                                   for the “fusion” limitations.
                    7

                    8             The Hart Report raises a new infringement theory that accuses a “Local Tone
                    9    Mapping”(“LTM”) function of satisfying the “fusion” limitations. (Ex. D, ¶¶ 110-121, 135, 138,
                   10    140-142.) Corephotonics’s contentions never identified Local Tone Mapping as an accused feature.
                   11    (See Exs. A-C.)
                   12             Specifically, the Hart Report accuses “a set of automatic image processing algorithms”
                   13    referred to as “Local Tone Mapping (LTM).” (Ex. D at ¶ 110.) The report newly points to
                   14    algorithms that generate “tone curves” and then perform Local Tone Mapping to modify image
                   15    brightness to adapt to human perception. (Id., ¶¶ 111-116.) Importantly, Local Tone Mapping is a
                   16    separate function from automatic white balance. (E.g., id., ¶¶ 116 (noting that LTM is a function
                   17    performed after “white balance”), 111 (noting that LTM is used for “adjusting camera outputs
                   18    perceived by a user corrected for possible errors in white balance, exposure, and tone”),        112
                   19    (Corephotonics deposition questions distinguishing between three functions: “auto white balance
                   20    and auto exposure and local tone mapping”). None of this Local Tone Mapping functionality was
                   21    identified as allegedly infringing in Corephotonics’s infringement contentions.
                   22             For reference, the chart below summarizes the improper new theories at issue in this motion.
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                          7                                MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 11 of 18



                    1
                                 Claim           Accused          Corephotonics’s                     Hart Report
                    2           Elements         Products          Contentions

                    3     “Wide     ISP” All accused “a processor,” specifically “software     and     hardware”
                          and “Tele ISP” products    the Apple A series or M including “the bus connections
                    4                                series SoC processor        from” an image sensor “to the
                                                                                 Apple SoC” and “the iOS
                    5                                                            operating system and its use of
                                                                                 camera drivers and ISP firmware
                    6                                                            pipeline”

                    7     “camera              All accused No theory of infringement New theory of infringement
                          controller”          products    under means-plus-function under        means-plus-function
                    8                                      construction              construction

                    9     “fusion”             All accused No identification of Local New theory of infringement
                                               products    Tone Mapping               accusing Local Tone Mapping
                   10

                   11    III.     LEGAL STANDARDS
                   12             This District’s Patent Local Rules require plaintiffs and defendants “to provide early notice

                   13    of their infringement and invalidity contentions, and to proceed with diligence in amending those

                   14    contentions when new information comes to light in the course of discovery.” O2 Micro Int’l Ltd.

                   15    v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1365-66 (Fed. Cir. 2006). Patent Local Rule 3-1

                   16    requires that a patentee identify “each accused apparatus, product, device, process, method, act, or

                   17    other instrumentality (‘Accused Instrumentality’) of each opposing party of which the party is

                   18    aware. This identification shall be as specific as possible.” Pat. L.R. 3-1(b). In addition, the

                   19    patentee must provide a “chart identifying specifically where and how each limitation of each

                   20    asserted claim is found within each Accused Instrumentality, including for each limitation that such

                   21    party contends is governed by 35 U.S.C. § 112(6), the identity of the structure(s), act(s), or

                   22    material(s) in the Accused Instrumentality that performs the claimed function.” Pat. L.R. 3-1(c).

                   23             “The purpose of the Rule 3-1 disclosures is to reduce uncertainty about the parties’ claims,

                   24    and to ensure that the often costly course of patent litigation is focused on the disagreements that

                   25    matter. To those ends, Rule 3-1 disclosures are made early in the case and are subject to amendment

                   26    only upon diligence and good cause.” Finjan/PAN, 2023 WL 6305786, at *1. Specifically, Patent

                   27    Local Rule 3-6 requires that a patentee obtain leave of Court with a “timely showing of good cause”

                   28    for any amendment to its infringement theories. Pat. L.R. 3-6.
COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                           8                                MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 12 of 18



                    1             “Given the purpose of these disclosure requirements, expert reports cannot go beyond the
                    2    bounds of the disclosed infringement theories and introduce new theories not disclosed in the
                    3    contentions.” KlausTech, Inc. v. Google LLC, No. 10-cv-05899-JSW (DMR), 2018 WL 5109383,
                    4    at *3 (N.D. Cal. Sept. 14, 2018), aff’d, 792 F.App’x 954 (Fed. Cir. 2020). “It is well settled that
                    5    expert reports may not introduce theories not set forth in contentions.” Finjan/Cisco, 2020 WL
                    6    2322923, at *3. See also Finjan/PAN, 2023 WL 6305786, at *1 (granting motion to strike expert
                    7    opinions raising new infringement theories); DSS Tech. Mgmt., Inc. v. Apple, Inc., No. 14-CV-
                    8    05330-HSG, 2020 WL 210318, at *7 (N.D. Cal. Jan. 14, 2020) (same).
                    9             When evaluating a motion to strike expert opinions under the Patent Local Rules, courts
                   10    evaluate “whether the allegedly undisclosed ‘theory’ is in fact a new theory or new element of the
                   11    accused product alleged to practice a particular claim that was not previously identified in plaintiff’s
                   12    contentions, or whether the ‘theory’ is instead the identification of additional evidentiary proof
                   13    showing that the accused element did in fact practice the limitation.” Finjan, Inc. v. Symantec
                   14    Corp., No. 14-CV-02998-HSG(JSC), 2018 WL 620169, at *2 (N.D. Cal. Jan. 30, 2018)
                   15    (“Finjan/Symantec”). The inquiry evaluates “fair notice.” Finjan/PAN, 2023 WL 6305786, at *1
                   16    (finding that patentee’s infringement contentions “did not give [defendant] fair notice of the
                   17    infringement claims . . . on which [plaintiff]’s experts now seek to opine”).
                   18             Here, Corephotonics improperly attempts to use its expert report to raise untimely new
                   19    infringement theories that were not disclosed in Corephotonics’s infringement contentions.
                   20    IV.      ARGUMENT
                   21             A.       The Court Should Strike the Hart Report’s New Untimely Infringement
                                           Theories.
                   22

                   23             The Court should strike three untimely infringement theories from the Hart Report. All of
                   24    them are substantive theories for which Corephotonics’s infringement contentions failed to provide
                   25    fair notice. Finjan/Symantec, 2018 WL 620169, at *2; Finjan/PAN, 2023 WL 6305786, at *1-2;
                   26    DSS, 2020 WL 210318, at *7.
                   27

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COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                           9                                 MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 13 of 18



                    1                      1.      The Court should strike the Hart Report’s untimely new “ISP”
                                                   infringement theory.
                    2

                    3             For the “ISP” limitations, Corephotonics’s infringement contentions never accused

                    4    anything more than “a processor” and specifically the Apple A-series and M-series “SoC

                    5    processor” contained in each accused product. (Ex. A at 3-4; Ex. B at 3-4; Ex. C at 3-4.)

                    6    Corephotonics never raised the accusation that the “ISP” corresponds to “software and hardware”

                    7    in the accused products, including iOS operating system software, camera system drivers, and “bus

                    8    connections” outside of the SoC, as Corephotonics now attempts to improperly inject into the case

                    9    through the Hart Report. (Ex. D, ¶¶ 84, 89, 91.)

                   10             The untimely new “software and hardware” theory is fundamentally different from the “SoC

                   11    processor” theory Corephotonics disclosed in its contentions. The SoC processor is a specific

                   12    hardware chip in each product. (Ex. A at 3-4; Ex. B at 3-4; Ex. C at 3-4.) Since the claims require

                   13    an “image signal processor (ISP),” it made sense that Corephotonics accused “a processor.”

                   14    Nothing in Corephotonics’s contentions indicated it might accuse software or other hardware

                   15    components. By contrast, the Hart Report newly seeks to accuse separate software functionality,

                   16    including iOS system software and camera drivers, as well as “bus connections” that are located

                   17    outside of the SoC. (Ex. D, ¶¶ 84, 89, 91.) Corephotonics’s contentions did not provide fair notice

                   18    of the untimely new theory raised in the Hart Report. Finjan/Symantec, 2018 WL 620169, at *2;

                   19    Finjan/PAN, 2023 WL 6305786, at *1; DSS, 2020 WL 210318, at *7.

                   20             Corephotonics had ample opportunity during fact discovery, including three rounds of

                   21    infringement contentions, but never raised any broader “hardware and software” theory for the

                   22    “ISP” limitations. The iOS operating system and software in the accused devices for capturing

                   23    images have been well-known publicly for many years. (E.g., Ex. E.) Similarly, the existence of

                   24    connectors in Apple products were well known. For example, public documents for the iPhone 7

                   25    Plus show that the image sensor has “connectors” that transmit information to other components

                   26    on the devices. (E.g., Ex. F at 7, Step 11 (“two little connectors”).) These connectors are not a part

                   27    of the SoC, which is a separate chip. (E.g., id. at 8, Step 14 (noting Apple A10 Fusion SoC).)

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COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                         10                                 MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 14 of 18



                    1    Apple also produced extensive source code and other technical discovery for the accused products
                    2    and features that Corephotonics never cited in its contentions. (Mead Decl. ¶ 3.)
                    3             In sum, from the beginning of the case, Corephotonics could have preserved an
                    4    infringement theory broadly accusing “hardware and software” that perform certain functions, but
                    5    instead Corephotonics only accused the “SoC processor.” These untimely new theories should be
                    6    stricken from the Hart Report. Finjan/Symantec, 2018 WL 620169, at *2; Finjan/PAN, 2023 WL
                    7    6305786, at *1; DSS, 2020 WL 210318, at *7.
                    8                      2.      The Court should strike the Hart Report’s untimely new means-plus-
                                                   function infringement theory for the “camera controller.”
                    9

                   10             Corephotonics’s infringement contentions also never raised any theory of infringement
                   11    under a means-plus-function claim construction for the “camera controller” element despite ample
                   12    opportunity and incentive to do so over the past year. The means-plus-function construction first
                   13    arose in December 2022 when the PTO adopted it and directed Corephotonics to respond. Apple
                   14    filed a notice of the construction in January 2023, and in April 2023 Apple moved to supplement
                   15    claim construction with the means-plus-function construction, noting that the means-plus-function
                   16    construction is “potentially dispositive on non-infringement as to this patent.” (Dkt. 171 at 4.)
                   17    Corephotonics was thus fully on notice by early 2023 of the means-plus-function construction and
                   18    its significance to the infringement issues in this case. “[W]here the court adopts the opposing
                   19    party’s proposed claim construction, the moving party’s diligence, without which there is no good
                   20    cause, is measured from the day the moving party received the proposed constructions, not the date
                   21    of issuance of the Court's claim construction opinion.” Word to Info Inc. v. Facebook Inc., No. 15-
                   22    CV-03485-WHO, 2016 WL 6276956, at *4 (N.D. Cal. Oct. 27, 2016), aff’d, 700 F. App’x 1007
                   23    (Fed. Cir. 2017).
                   24             Rather than diligently add a means-plus-function infringement theory to its contentions,
                   25    Corephotonics chose not to raise any such theory. In August 2023, months after the means-plus-
                   26    function construction was raised, Corephotonics filed its second motion to amend its contentions
                   27    but did not disclose any means-plus-function theory of infringement. If Corephotonics wanted to
                   28    preserve such a theory (in the event the Court adopts the means-plus-function construction),
COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                        11                                  MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 15 of 18



                    1    Corephotonics needed to diligently disclose its theory in amended infringement contentions with
                    2    leave from the Court. Word to Info, 2016 WL 6276956, at *4; Firstface Co., Ltd. v. Apple, Inc.,
                    3    No. 3:18-cv-02245-JD, Dkt. 160 (N.D. Cal. Aug. 29, 2022). Corephotonics “was aware of the
                    4    possibility of infringement” under a means-plus-function construction” but “still failed to include
                    5    this infringement theory in its Amended PICs.” DSS, 2020 WL 210318, at *7, n.4.
                    6             This Court’s decision in Firstface v. Apple is instructive. There, the Court denied the
                    7    plaintiff’s motion to amend its infringement contentions after the Court adopted a construction
                    8    proposed by Apple, finding that the plaintiff “did not exercise diligence in seeking to amend its
                    9    contentions because it waited until over a month after the Court’s claim construction order despite
                   10    Apple proposing the construction adopted by the Court much earlier.” Firstface, No. 3:18-cv-
                   11    02245-JD, Dkt. 160. In that case, the plaintiff moved to amend its contentions, but unduly delayed
                   12    until “just over a month before the fact discovery cutoff” to file its motion. Id. Here, Corephotonics
                   13    did not = file a motion to amend its contentions to include a means-plus-function theory after
                   14    becoming aware of the means-plus-function construction in December 2022 and becoming aware
                   15    in April 2023 that Apple formally proposed this construction. Instead, Corephotonics amended its
                   16    contentions in August 2023 without raising a means-plus-function theory and now has improperly
                   17    attempted to back-door an untimely new infringement theory into its expert report after the close
                   18    of fact discovery.
                   19                      3.      The Court should strike the Hart Report’s untimely new infringement
                                                   theory accusing Local Tone Mapping.
                   20

                   21             Finally, Corephotonics’s infringement contentions do not accuse the Local Tone Mapping
                   22    feature that Corephotonics untimely attempts to accuse through the Hart Report. Nor would there
                   23    be any good cause for Corephotonics to attempt to accuse Local Tone Mapping for the first time
                   24    after the close of fact discovery. Apple has publicly disclosed Local Tone Mapping as a feature of
                   25    iPhone 7 Plus and other iPhone products since at least 2016. For example, Local Tone Mapping is
                   26    described in documents published online in 2016 and produced to Corephotonics in this case in
                   27    2018. (Ex. G at 2 (describing “improved local tone mapping”); Mead Decl., ¶ 3; Ex. H (Apple
                   28    developer website from March 2022 describing “tone mapping”).) Indeed, Corephotonics’s initial
COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                         12                                 MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 16 of 18



                    1    infringement contentions cited the same technical specifications that describe “local tone mapping,”
                    2    but Corephotonics’s contentions never accused that feature of infringement. (Ex. A at 1-4.) The
                    3    Hart Report admits that the accused Local Tone Mapping feature has been present in iPhone product
                    4    lines since at least September 2016, when iPhone 7 Plus was released. (Ex. D, ¶¶ 253, 302.) In
                    5    addition to the publicly available disclosures, Apple produced in 2018 source code for iPhone 7
                    6    Plus (the only product then-accused of infringing the ’291 patent), including the code for the local
                    7    tone mapping functionality, but Corephotonics never cited that code (or any other code) in its
                    8    contentions. (Mead Decl., ¶ 3.) Apple also produced the source code for additional accused
                    9    products in April 2023. (Id.)
                   10             Despite all of these disclosures for many years, Corephotonics never identified Local Tone
                   11    Mapping functionality as being accused and never cited any source code in its contentions, despite
                   12    twice amending its contentions. The Court should strike this undisclosed and untimely new
                   13    accusation.     Finjan/PAN, 2023 WL 6305786, at *2 (finding that even where an accused
                   14    functionality was referenced with a “few, scattered references” in infringement contentions, the
                   15    disclosure did “not meet the letter of Rule 3-1(b)’s requirement that each instrumentality ‘shall be
                   16    identified by name,’ or its spirit of adequate disclosure”).          Corephotonics’s infringement
                   17    contentions “did not give [Apple] fair notice of the infringement claims with respect to the [Local
                   18    Tone Mapping functionality] on which [Corephotonics’s] experts now seek to opine.” Id.
                   19             B.       Apple Is Unfairly Prejudiced By Corephotonics’s Undisclosed New Theories.
                   20             There is no need to consider the issue of prejudice given that Corephotonics failed to
                   21    disclose in its infringement contentions the untimely new theories raised in the Hart Report.
                   22    Finjan/PAN, 2023 WL 6305786, at *2 (striking new theories from expert report without addressing
                   23    the issue of prejudice). “If the theory is new, prejudice is ‘inherent in the assertion of a new theory
                   24    after discovery has closed.’” Finjan/Symantec, 2018 WL 620169, at *2 (quoting Adobe Sys. Inc.
                   25    v. Wowza Media Sys., No. 11-CV-02243-JST, 2014 WL 709865, at *15 n.7 (N.D. Cal. Feb. 23,
                   26    2014)). The “dispositive inquiry” is “whether the allegedly undisclosed theory is in fact a new
                   27    theory or new element of the accused product alleged to practice a particular claim that was not
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COOLEY LLP
ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                          13                                MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 17 of 18



                    1    previously identified in the plaintiff’s contentions,” which holds true here. Finjan/Symantec, 2018
                    2    WL 620169, at *2.
                    3             Even if the Court were to consider the issue of prejudice, Apple would be materially
                    4    prejudiced by the untimely new theories here. Apple completed fact discovery in reliance on the
                    5    theories disclosed in Corephotonics’s contentions, including developing noninfringement defenses,
                    6    developing and focusing prior art and § 112 invalidity defenses, developing and arguing its claim
                    7    construction positions, preparing its witnesses for deposition, and deposing Corephotonics’s
                    8    witnesses. Apple thus had no opportunity during fact discovery to develop its defenses, positions,
                    9    and discovery based on the undisclosed theories that Corephotonics now seeks to introduce through
                   10    the Hart Report. See also Firstface, Dkt. 160 (where patentee moved to amend contentions shortly
                   11    before the close of fact discovery, denying motion to amend and finding that “Apple will be
                   12    prejudiced by the amendment at this late stage of discovery.”).
                   13    V.       CONCLUSION
                   14             Apple respectfully requests that the Court grant this motion and strike the undisclosed new
                   15    infringement theories from the Hart Report.
                   16    Dated: January 25, 2024                           Respectfully submitted,
                   17                                                      COOLEY LLP
                   18
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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD                         14                               MOTION TO STRIKE
                           Case 3:17-cv-06457-JD Document 224 Filed 01/25/24 Page 18 of 18



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ATTORNEYS AT LAW        Case No. 3:17-cv-06457-JD (lead case)
   PALO ALTO
                        Case No. 5:18-cv-02555-JD               15                          MOTION TO STRIKE
